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                              UNITED STATES DISTRICT COURT
                                         FOR THE
                               DISTRICT OF NEW HAMPSHIRE



*************************
                                  *
Alastair M. Craig, M.D.,          *
                                  *
                     Plaintiff    *
                                  *
              v.                  *                 Docket No. 1:16-cv-00421-JL
                                  *
The Trustees of Dartmouth College *
                                  *
                     Defendant    *
                                  *
*************************


                 STIPULATION OF DISMISSAL WITHOUT PREJUDICE


       NOW COME the Plaintiff, Dr. Alastair Craig, as well as the Trustees of Dartmouth

College, by and through their undersigned counsel, and respectfully move to dismiss this case

WITHOUT PREJUDICE to Dr. Craig's ability to re-file same in State Court, for the reasons

more fully set forth below:

       1.      Dr. Craig originally brought claims against both the New Hampshire Hospital, a

State-run inpatient facility under the supervision of the New Hampshire Department of Health

and Human Services, and the Trustees of Dartmouth College, raising claims under federal and

state age discrimination law, as well as common-law claims relating to the alleged violation of a

1993 Settlement Agreement between Dr. Craig and New Hampshire Hospital.

       2.      Dr. Craig subsequently filed a Notice of Dismissal Without Prejudice of his

claims against New Hampshire Hospital. See Doc. 6. Dr. Craig has re-filed those claims in the

Merrimack Superior Court.
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       3.      Following discussions between counsel for Dr. Craig and counsel for Dartmouth,

the parties have agreed that Dr. Craig will pursue his claims in this matter in Merrimack Superior

Court where his claims against New Hampshire Hospital are currently pending.

       4.      Counsel for the parties have conferred and agree that this Stipulation of Dismissal

will not bar Dr. Craig from bringing his claims against Dartmouth in the Merrimack Superior

Court, and Dartmouth has agreed that it will not file a pre-answer Motion to Dismiss in that

matter, and will not file any motions, and/or assert any affirmative defense or other defense

based on Dr. Craig's re-filing of the Complaint in Merrimack Superior Court. Dartmouth

expressly reserves all affirmative defenses raised in its Answer in this matter (Doc. 9). Except

for motions and defenses based on Dr. Craig’s re-filing of the Complaint in Merrimack Superior

Court, Dartmouth expressly reserves the ability to file dispositive motions on the basis of

defenses it properly and timely raises in its Answer to the lawsuit Dr. Craig plans to file in the

Merrimack Superior Court, as well as any defenses that Dartmouth determines to be appropriate

after discovery has commenced in that matter.

       5.      Allowing Dr. Craig to dismiss his claims without prejudice and to re-file them in

the Merrimack Superior Court will be more efficient for the parties and the Court, and will avoid

the potential for inconsistent outcomes. Furthermore, where this stipulation is signed by counsel

for all parties who have appeared, dismissal is appropriate under Fed. R. Civ. Pro.

41(a)(1)(A)(ii).




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      WHEREFORE counsel for the parties respectfully seek an order:

      A.      DISMISSING Dr. Craig's claims against Dartmouth without prejudice; and

      B.      GRANTING such other and further relief as may be appropriate.

                                          Respectfully submitted,

                                         ALASTAIR CRAIG, M.D.

                                         By his attorneys,
                                         UPTON & HATFIELD, LLP


Date: January 26, 2017                By: /s/ Heather M. Burns
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                                   AND
                                          THE TRUSTEES OF DARTMOUTH
                                          COLLEGE

                                          By their attorneys,
                                          WADLEIGH, STARR & PETERS, P.L.L.C.


Date: January 26, 2017               By: /s/ Kathleen C. Peahl
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                                      CERTIFICATE OF SERVICE
          I hereby certify that a copy of the foregoing has been served via ECF on all counsel of
record.


Date: January 26, 2017                                 /s/ Heather M. Burns




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